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PROB 12C - (Rev. D/NM-8/2014)                                                                            37892

                                   UNITED STATES DISTRICT COURT
                                              FOR THE
                                      DISTRICT OF NEW MEXICO

                                Petition for Revocation of Supervised Release
Name of Offender:                 Colby Atkins
Docket Number:                    1084 1:05CR00379 -001MV
Assigned Judge:                   Honorable Martha Vázquez, United States District Judge
Date of Original Sentence:        05/25/2006
Original Offense:                 Ct.1: 18 U.S.C. 2113(a)/(d): Armed Bank Robbery
                                  Ct.2: 18 U.S.C. 924 (c)(1)(A)(iii): Use of a Firearm During and in Relation
                                  to a Crime of Violence (Discharged)
Original Sentence:                BOP: 161 months; TSR: 3 years
Date Supervision                  04/11/2017
Commenced:
Date Supervision Expires:         04/10/2020
Other Court Action:               09/13/2018: Request for Modifying the Conditions or Term of Supervision
                                  submitted to the court.
                                  11/30/2018: Order Granting Petition to Modify Conditions of Probation and
                                  Order Amending Application of Interest.
                                  05/23/2019: Petition for Revocation of Supervised Release for possession of
                                  firearms and illegal drugs. Six months custody followed by 24 months TSR.


                                       PETITIONING THE COURT

To issue a warrant.

U.S. Probation Officer of the Court, Wade Miller, alleges the offender has violated the following condition(s)
of supervised release.

Violation      Nature of Noncompliance
Type

SC             You must live at a place approved by the probation officer. If you plan to change where you live
               or anything about your living arrangements (such as the people you live with), you must notify
               the probation officer at least 10 days before the change. If notifying the probation officer in
               advance is not possible due to unanticipated circumstances, you must notify the probation officer
               within 72 hours of becoming aware of a change or expected change.

               On or about December 1, 2019, the defendant’s father (David Atkins) contacted probation
               officer Wade Miller and indicated that his son Colby Atkins had left his residence and he did
               not know where he was. On December 4, 2019, the United States Probation Office conducted
               a home contact to the last reported address and Colby was not present. His father, David Atkins
               confirmed Colby had not been at the home since at least December 1, 2019. The defendant failed
               to notify his probation officer of a change in residence and did not have permission from the
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                United States Probation Office to change his living arrangements. The defendant has failed to
                contact his probation officer and his whereabouts are unknown.

The maximum statutory penalty: 3 years imprisonment; 5 years supervised release.
The revocation range of imprisonment: 5 months to 11 months.

I declare under penalty of perjury that the foregoing is true and correct.
Executed on 12/05/2019.


 Submitted:                                                  Approved:                    ‫ ܈‬Approval




 Wade Miller                                                 Peter Eicker
 U.S. Probation Officer                                      Assistant U.S. Attorney
 505-238-9411                                                505-346-7274




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